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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                            CIVIL MINUTES - GENERAL
 Case No.        CV 24-00749-ODW(JC)                                                       Date    January 30, 2024
 Title          Marcus Mihalsheon v. United States of America



 Present: The Honorable           OTIS D. WRIGHT II, UNITED STATES DISTRICT JUDGE

                       Sheila English                                                      None Present
                       Deputy Clerk                                               Court Reporter / Recorder

                Attorneys Present for Plaintiffs:                             Attorneys Present for Defendants:

                             None                                                              None

 Proceedings:                 MINUTE ORDER (IN CHAMBERS)

         This action has been assigned to the calendar of Judge Otis D. Wright II.
         *** EFFECTIVE IMMEDIATELY***
         No mandatory chambers copies required, EXCEPT FOR motions for summary judgment and any
         other evidence-heavy motions.

         Counsel are STRONGLY encouraged to review the Central District’s website for additional
         information. The address is “http://www.cacd.uscourts.gov.”

         It is not necessary to clear a motion date with the Court Clerk prior to filing the motion. The Court hears
         motions on Mondays, Criminal at 10:00 a.m. and Civil at 1:30 p.m.

         The Court’s Electronic Document Submission System (EDSS) allows people without lawyers who have
         pending cases in the United States District Court for the Central District of California to submit
         documents electronically to the Clerk’s Office. To access EDSS and for additional information, visit the
         Court’s website at “http://apps.cacd.uscourts.gov/edss.”
         The parties may consent to proceed before a Magistrate Judge appearing on the voluntary consent
         list.
         PLEASE refer to Local Rule 79-5 for the submission of CIVIL ONLY SEALED DOCUMENTS.
         CRIMINAL SEALED DOCUMENTS, will remain the same: all proposed sealed documents must be
         submitted via e-mail to the Judge’s Chambers email address at ODW_chambers@cacd.uscourts.gov,
         excluding those submitted by pro se parties and “IN CAMERA” filings, which shall continue to comply
         with Local Rule 79-5.1. Please refer to the Judge’s procedures and schedules for detailed instructions for
         submission of sealed documents.


** ATTENTION ECF Attorneys---Chambers Email Addresses are available under your Utilities menu. **
                                                                                                               :    00

                                                                    Initials of Preparer                  SE

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